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                   EXHIBIT I
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                                                                         ratify both the propriety of the certification and

     KeyCite Red Flag - Severe Negative Treatment
                                                                         the fairness of the settlement.     Fed. R. Civ. P.
Vacated and Remanded by Frank v. Gaos, U.S., March 20, 2019              23(e).
                    87 F.Supp.3d 1122
       United States District Court, N.D. California,
                    San Jose Division.                             [2]   Compromise, Settlement, and
                                                                         Release      Class actions, claims, and
              IN RE GOOGLE REFERRER                                      settlements in general
             HEADER PRIVACY LITIGATION                                   At the final approval stage of a class action,
                                                                         the primary inquiry is whether the proposed
                Case No. 5:10–cv–04809–EJD
                                                                         settlement is fundamentally fair, adequate, and
                              |
                    Signed March 31, 2015                                reasonable.     Fed. R. Civ. P. 23(e).

Synopsis
Background: Internet users filed putative class action against
                                                                   [3]   Compromise, Settlement, and
website owner claiming it operated its search engine in
                                                                         Release     Class actions, claims, and
a manner that violated users' Internet privacy rights by
                                                                         settlements
disclosing personal information to third parties. Following
consolidation of claims, transfer, and preliminary approval of           The law favors the compromise and settlement
settlement, plaintiffs moved for final approval of class action          of class action suits.    Fed. R. Civ. P. 23(e).
settlement, and for award of attorney fees, costs, and incentive
awards.
                                                                   [4]   Compromise, Settlement, and
                                                                         Release   Role, Authority, and Discretion of
Holdings: The District Court, Edward J. Davila, J., held that:           Court
                                                                         Ultimately, the decision to approve or reject a
[1] proposed settlement was fair, adequate, and reasonable;              class action settlement is committed to the sound
                                                                         discretion of the trial judge because he is exposed
[2] award of attorney fees to plaintiffs' counsel of $2.125              to the litigants and their strategies, positions, and
million, which was equal to 25 percent of the settlement fund,
                                                                         proof.    Fed. R. Civ. P. 23(e).
was appropriate; and

[3] incentive awards of $5,000 to each of three named
plaintiffs was appropriate.                                        [5]   Federal Civil Procedure       Superiority,
                                                                         manageability, and need in general
                                                                         Within the context of a class action settlement,
Motions granted.                                                         the superiority inquiry focuses on whether
                                                                         the objectives of the particular class action
                                                                         procedure will be achieved in the particular case.
 West Headnotes (26)                                                        Fed. R. Civ. P. 23(b).


 [1]     Compromise, Settlement, and
                                                                   [6]   Deposits in Court      Disposition under
         Release      Preliminary or conditional
                                                                         judgment or order of court
         approval in general
                                                                         Federal Civil Procedure       Superiority,
         When parties to a putative class action reach a
                                                                         manageability, and need in general
         settlement agreement prior to class certification,
         court must peruse the proposed compromise to


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        A class-wide resolution is not rendered inferior
                                                                     must be examined for overall fairness.    Fed. R.
        simply because a class action settlement
                                                                     Civ. P. 23(e).
        agreement calls for an indirect rather than a
        direct benefit to the class, since assuming the
        circumstances support it, a settlement calling for
                                                              [10]   Compromise, Settlement, and
        a cy pres remedy can be approved.          Fed. R.           Release      Class actions, claims, and
        Civ. P. 23(b).                                               settlements in general
                                                                     Compromise, Settlement, and
                                                                     Release      Negotiation at arm's length; fraud
 [7]    Compromise, Settlement, and                                  or collusion
        Release   Form, requisites, and sufficiency
                                                                     When a class action settlement occurs before
        Federal Civil Procedure           Sufficiency                formal class certification, court's approval
        When individual notice of a proposed class                   requires a higher standard of fairness in order
        action settlement is not practical, publication or           to ensure that class representatives and their
        some similar mechanism can be sufficient to                  counsel do not secure a disproportionate benefit
        provide notice to individuals that will be bound
                                                                     at the expense of the class.      Fed. R. Civ. P.
        by the class action judgment.       Fed. R. Civ. P.          23(e).
        23(c)(2)(B).
                                                                     1 Cases that cite this headnote
        4 Cases that cite this headnote

                                                              [11]   Compromise, Settlement, and
 [8]    Compromise, Settlement, and                                  Release      Class actions, claims, and
        Release      Class actions, claims, and                      settlements in general
        settlements in general                                       To assess the strength of a case, as factor
        To determine whether a class action settlement               in determining whether proposed class action
        is fair, adequate, and reasonable, as required               settlement is fair, adequate, and reasonable,
        for final approval, court must balance a series              district court's determination is nothing more
        of factors, including: (1) the strength of                   than an amalgam of delicate balancing, gross
        plaintiffs' case; (2) risk, expense, complexity,             approximations, and rough justice; there is no
        and likely duration of further litigation; (3) risk          particular formula by which that outcome must
        of maintaining class action status throughout                be tested, and court is not required to render
        a trial; (4) amount offered in settlement; (5)               specific findings on the strength of all claims.
        extent of discovery completed and the stage
                                                                        Fed. R. Civ. P. 23(e).
        of the proceedings; (6) experience and views
        of counsel; (7) presence of a governmental
        participant; and (8) reaction of class members to
                                                              [12]   Compromise, Settlement, and
        the proposed settlement.     Fed. R. Civ. P. 23(e).          Release    Antitrust, trade regulation, fraud,
                                                                     and consumer protection
                                                                     Compromise, Settlement, and
 [9]    Compromise, Settlement, and                                  Release   Costs and Fees of Litigation
        Release      Class actions, claims, and
                                                                     Proposed settlement of Internet users' class
        settlements in general
                                                                     action against website owner for violation of
        When court evaluates a proposed settlement of a              Stored Communications Act (SCA), breach of
        class action it is the settlement taken as a whole,          contract, and unjust enrichment, based on claims
        rather than the individual component parts, that             owner operated its search engine in a manner
                                                                     that violated users' Internet privacy rights by



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         disclosing personal information to third parties,            statutes, and the interests of the non-appearing
         which required website owner to pay $8.5
                                                                      class members.      Fed. R. Civ. P. 23(e).
         million into a common fund to cy pres recipients
         for damages incurred by up to 129 million                    2 Cases that cite this headnote
         Internet users, attorney fees, costs, and incentive
         awards, as well as post disclosures on its website,
                                                               [15]   Compromise, Settlement, and
         was fair, adequate, and reasonable, as required
                                                                      Release      Class actions, claims, and
         for final approval of proposed settlement; claims
                                                                      settlements in general
         were novel, technically complex, and potentially
         one of first impression in circuit, so there was             A class action settlement does not need to
         no guarantee that claims would survive pre-trial             embody the best possible result to be approved;
         challenges, the calculation of damages based                 court's role is not to advocate for any particular
         on a potentially unquantifiable privacy injury               relief, but instead to determine whether the
         would have posed a serious challenge to users in             settlement terms fall within a reasonable range
         obtaining some type of valuable relief, amount               of possible settlements, giving proper deference
         of settlement compared favorably to that of other            to the private consensual decision of the parties
         similar class actions, and cy pres distribution to           to reach an agreement rather than to continue
         be given to established organizations accounted              litigating.   Fed. R. Civ. P. 23(e).
         for the objectives of the SCA and furthered the
         interests of class members. 18 U.S.C.A. § 2701;
            Fed. R. Civ. P. 23(e).                             [16]   Compromise, Settlement, and
                                                                      Release    Views of parties, claimants, or
                                                                      class members; opposition or approval
 [13]    Compromise, Settlement, and                                  A low number of opt-outs and objections in
         Release   Indirect compensation; cy pres                     comparison to class size is typically a factor
         awards                                                       that supports approval of a proposed class action
         Cy pres payments, in lieu of distribution of                 settlement.     Fed. R. Civ. P. 23(e).
         funds to class members, can be approved in class
         actions settlements when actual funds are non-
         distributable, or where the proof of individual
                                                               [17]   Compromise, Settlement, and
         claims would be burdensome or distribution
                                                                      Release   Costs and Fees of Litigation
         of damages costly, but due to a heightened
         potential for collusion at the expense of absent             When attorney fees and costs are requested by
         class members, this form of settlement must be               counsel for a class, as part of a class action
         examined to ensure it is the next best remedy to             settlement, court has an independent obligation
                                                                      to ensure that the award, like the settlement itself,
         direct payments to the class.      Fed. R. Civ. P.           is reasonable, even if the parties have already
         23(e).
                                                                      agreed to an amount.       Fed. R. Civ. P. 23(e).
         2 Cases that cite this headnote
                                                                      2 Cases that cite this headnote

 [14]    Compromise, Settlement, and
         Release   Indirect compensation; cy pres              [18]   Attorneys and Legal
         awards                                                       Services    Reasonableness in general

         District court should not approve a cy pres                  Attorneys and Legal Services     Lodestar
         distribution in a class action settlement unless it          and percentage methods compared or combined
         bears a substantial nexus to the interests of the            When a class action settlement produces a
         class members such that it accounts for the nature           common fund for the benefit of an entire
         of the lawsuit, the objectives of the underlying             class, court has discretion to employ either the


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         lodestar method or the percentage-of-recovery                  Though courts have discretion to employ either
         method for determining reasonable attorney fees;               the lodestar method or the percentage-of-
         lodestar method is routinely used when the relief              recovery method for determining reasonable
         sought and obtained is primarily injunctive in                 attorney fees in a class action, their discretion
                                                                        must be exercised so as to achieve a reasonable
         nature, and thus not easily monetized.        Fed. R.
         Civ. P. 23(e).                                                 result.   Fed. R. Civ. P. 23(e).

         2 Cases that cite this headnote

                                                                 [22]   Attorneys and Legal
 [19]    Federal Civil Procedure             Amount and                 Services    Telecommunications
         elements                                                       Following settlement of Internet users' class
         The lodestar figure used to determine reasonable               action against website owner for violation of
         attorney fees is calculated by multiplying the                 Stored Communications Act (SCA), based on
         number of hours the prevailing party reasonably                owner's action in disclosing to third parties the
         expended on the litigation, as supported by                    users' personal information they had entered
         adequate documentation, by a reasonable hourly                 into site's search engine, award of attorney
         rate for the region and for the experience of the              fees to plaintiffs' counsel of $2.125 million,
         lawyer; court can adjust the figure upward or                  which was equal to 25 percent of the settlement
         downward by an appropriate positive or negative                fund, was appropriate; the case was not one
         multiplier reflecting a host of reasonableness                 where settlement was easily secured considering
         factors, including the quality of representation,              that counsel was required to defend claims
         the benefit obtained, the complexity and novelty               against three motions to dismiss, agreement
         of the issues presented, and the risk of                       only materialized after extensive in-person
         nonpayment.                                                    negotiations, first without and then including
                                                                        a professional neutral mediator, fee request
                                                                        was not disproportionate to the class benefit
 [20]    Attorneys and Legal Services             Percentage            and was comparable to awards approved in
         method                                                         other similar Internet privacy class actions, and
                                                                        lodestar crosscheck calculation produced similar
         In a class action settlement resulting in a
         common fund, court typically calculates 25% of                 award. 18 U.S.C.A. § 2701;          Fed. R. Civ. P.
         the fund as the benchmark for a reasonable fee                 23(e).
         award under the percentage-of-recovery method,
         and then provides adequate explanation in the                  1 Cases that cite this headnote
         record of any special circumstances justifying
         a departure, which may include: (1) the results         [23]   Federal Civil Procedure           Particular items
         achieved; (2) the risk of litigation; (3) the skill
                                                                        To determine the appropriateness of an incentive
         required and quality of work; (4) the contingent
                                                                        award to a named plaintiff in a class action,
         nature of the fee and the financial burden carried
                                                                        district court uses factors such as: (1) the actions
         by plaintiffs; and (5) awards made in similar
                                                                        the plaintiff has taken to protect the interests of
         cases.     Fed. R. Civ. P. 23(e).                              the class; (2) the degree to which the class has
                                                                        benefited from those action; (3) the amount of
         2 Cases that cite this headnote                                time and effort plaintiff expended in pursuing the
                                                                        litigation; and (4) reasonable fears of retaliation.
 [21]    Attorneys and Legal Services    Measure                           Fed. R. Civ. P. 23(e).
         and Amount of Compensation in General
         Federal Civil Procedure             Class actions
                                                                 [24]   Federal Civil Procedure           Particular items



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         Following $8.5 million settlement of Internet         of a class action settlement. See Docket Item No. 65No. 65.
         users' class action against website owner for         Representative Plaintiffs Paloma Gaos, Anthony Italiano and
         violation of Stored Communications Act (SCA),         Gabriel Priyev (“Plaintiffs”) also seek an order approving
         based on users' allegations of website owner's        their request for attorneys fees, costs and incentive awards.
         privacy breach, incentive awards of $5,000            See Docket Item No. 66No. 66.
         to each of three named plaintiffs in the suit
         was appropriate where named plaintiffs had            Federal jurisdiction arises pursuant to 28 U.S.C. § 1331.
         assumed the responsibilities and burdens of           Having carefully considered the written briefing along with
         acting as representatives in the lawsuit, including   the arguments of counsel at the hearing on this matter, the
         providing documents, verifying allegations, and       court has determined the motions should be granted for the
         consulting with counsel. 18 U.S.C.A. § 2701;          reasons explained below.
            Fed. R. Civ. P. 23(e).
                                                               I. FACTUAL AND PROCEDURAL BACKGROUND
                                                               The court previously described the factual allegations
 [25]    Compromise, Settlement, and                           underlying this lawsuit and repeats them again here.
         Release      Presumptions, inferences, and            According to the Consolidated Class Action Complaint
         burden of proof                                       (“CCAC”), “searching” is one of the “most basic activities
         Objectors to a class action settlement bear the       performed in the Internet,” and Google's website offers “the
         burden of proving any assertions they raise           most-used search engine in the world.” See CCAC, Docket
         challenging the reasonableness of the settlement.     Item No. 50, at ¶¶ 15, 16No. 50, at ¶¶ 15, 16. This case focuses
                                                               on that proprietary search engine. Plaintiffs allege Google
            Fed. R. Civ. P. 23(e).
                                                               operated its search engine in a manner that violated their
         5 Cases that cite this headnote                       Internet privacy rights by disclosing personal information to
                                                               third parties.

 [26]    Compromise, Settlement, and                           Specifically, Plaintiffs allege that Google's search engine
         Release      Class actions, claims, and               intentionally and by default included the user's search terms
         settlements in general                                in the resulting URL of the search results page. Id. at ¶ 56.
         Just because a proposed class action settlement       Thus, when a user of Google's search engine clicked on a
         could be improved does not mean it is not fair,       link from the search results page, the owner of the website
         reasonable or adequate, as required for court's       subject to the click receives the user's search terms in the
         approval.    Fed. R. Civ. P. 23(e).                   “referrer header” from Google. Id. at ¶ 57. This information is
                                                               then disseminated further, *1127 since several web analytics
                                                               services parse search query information from web server logs,
                                                               or otherwise collect the search query from the referrer header
                                                               transmitted by each user's web browser. Id. at ¶ 58. Indeed,
                                                               Google's own analytics product provides webmasters with
                                                               this information in the aggregate. Id.
  *1126 ORDER GRANTING MOTION FOR FINAL
  APPROVAL OF CLASS ACTION SETTLEMENT;                         According to Plaintiffs, the problem with Google's disclosure
      GRANTING MOTION FOR ATTORNEYS                            of users' search information to the third parties is that the
     FEES, COSTS AND INCENTIVE AWARDS                          referrer header—which displays the user's search terms—
                                                               can sometimes contain certain personal information often
                     Re: Dkt. Nos. 65, 66                      subject to search queries, including “users' real names,
                                                               street addresses, phone numbers, credit card numbers, social
EDWARD J. DAVILA, District Judge                               security numbers, financial account numbers and more, all of
                                                               which increases the risk of identity theft.” Id. at ¶ 3. “User
This consolidated internet privacy litigation against
                                                               search queries can also contain highly-personal and sensitive
Defendant Google Inc. (“Google”) returns for final approval
                                                               issues, such as confidential medical information, racial or


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ethnic origins, political or religious beliefs or sexuality, which
                                                                        Class Plaintiffs v. City of Seattle, 955 F.2d 1268, 1276
are often tied to the user's personal information. Id. at ¶ 3.
                                                                     (9th Cir.1992);    Officers for Justice v. Civil Serv. Comm'n,
Based on these allegations, Plaintiffs assert the following          688 F.2d 615, 625 (9th Cir.1982). Ultimately, “the decision
causes of action against Google: (1) violation of the Stored         to approve or reject a settlement is committed to the sound
Communications Act (“SCA”), 18 U.S.C. § 2701; (2) breach             discretion of the trial judge because he is exposed to the
of contract; (3) breach of the covenant of good faith and fair       litigants and their *1128 strategies, positions, and proof.”
dealing; (4) breach of implied contract; (5) unjust enrichment;         Hanlon, 150 F.3d at 1026.
and (6) declaratory and injunctive relief.

Gaos initiated an action in this court on October 25, 2010,          III. DISCUSSION
and Priyev filed an action on February 29, 2012, in the
Northern District of Illinois. On April 30, 2013, the cases             A. Continuing Certification of Settlement Class
were consolidated after the Priyev action was transferred to         This analysis begins with an examination of whether
this court. On March 26, 2014, the court granted the parties         class treatment remains appropriate. The court found
motion for preliminary approval of the settlement, certified a       at the preliminary approval stage that             Rule 23(a)'s
settlement class and appointed counsel. These motions were           requirements of numerosity, commonality, typicality, and
filed upon completion of the notice plan.                            adequate protection by the named representatives were
                                                                     satisfied. As to those issues, Plaintiffs anticipated a class
The court received four written objections to the settlement         comprised of approximately 129 million individuals who
from Kim Morrison, David Weiner, Melissa Holyoak,                    all share a common injury. The existence of this injury for
Theodore H. Frank, and Cameron Jan. A hearing addressing             each class member could be determined by resolving one
final approval was held on August 29, 2014.                          question: whether Google's system-wide practice and policy
                                                                     of storage and disclosure of their search query information
                                                                     was unlawful. Plaintiffs' claims were also typical, if not
II. LEGAL STANDARD
                                                                     identical, to that of other class members. For that reason, there
 [1] A class action may not be settled without court approval.
                                                                     was no indication that Plaintiffs' interest would conflict with
    Fed. R. Civ. P. 23(e). When the parties to a putative            that of the class, and Plaintiffs and their counsel had proven a
class action reach a settlement agreement prior to class             desire to vigorously pursue class claims as evidenced by prior
certification, “courts must peruse the proposed compromise           motion practice.
to ratify both the propriety of the certification and the fairness
of the settlement.”    Staton v. Boeing Co., 327 F.3d 938, 952  As to     Rule 23(b), the court found that common questions
(9th Cir.2003).                                                 predominate and that the class action mechanism was a
                                                                superior process for this litigation. The alternatives to
 [2]    [3]     [4] “Approval under 23(e) involves a two- class certification—millions of separate, individual and
step process in which the Court first determines whether        time-consuming proceedings or a complete abandonment
a proposed class action settlement deserves preliminary         of claims by a majority of class members—were not
approval and then, after notice is given to class members,      preferable. Moreover, class treatment was appropriate
whether final approval is warranted.” Nat'l Rural Telecomms.    because Defendant's policy was directed at all of its users
Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 525 (C.D.Cal.2004).     as whole rather than at particular users of its search engine.
At the final approval stage, the primary inquiry is whether
                                                                Since an adequate showing was made as to all of the      Rule
the proposed settlement “is fundamentally fair, adequate,
                                                                23 factors, the court conditionally certified the class for
and reasonable.”        Hanlon v. Chrysler Corp., 150 F.3d      settlement purposes.
1011, 1026 (9th Cir.1998). Having already completed an
preliminary examination of the agreement, the court reviews     The filings related to this motion do not compel an alteration
it again, mindful that the law favors the compromise and
                                                                to the prior findings under      Rule 23. Although Objectors
settlement of class action suits. See, e.g., Churchill Village, Frank and Holyoak argue the class should be decertified
LLC. v. Gen. Elec., 361 F.3d 566, 576 (9th Cir.2004);           unless the class members receive direct payments from the


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settlement fund, such an argument is unpersuasive under           administration, the possibility of a cy pres distribution in place
these circumstances. Frank and Holyoak appear to generally        of direct payments to the class was not considered.
contend that the only acceptable benefit is some form of
monetary compensation. If it is too costly to distribute          Accordingly, the objection of Frank of Holyoak on this topic
settlement funds to class members, then Frank and Holyoak         is overruled. The class shall remain certified for settlement
believe the class action mechanism is an inferior method of       purposes.
resolution under    Rule 23(b).
                                                                    B. Appropriateness of the Notice Plan
[5] This argument directed at the superiority element of
                                                                   [7]     Rule 23(c)(2)(B) requires “the best notice that is
   Rule 23(b) is misplaced. Within the context of a class         practicable under the circumstances, including individual
action settlement, the superiority inquiry focuses on “whether    notice to all members who can be identified through
the objectives of the particular class action procedure will      reasonable effort.” However, individual notice is not always
be achieved in the particular case.”     Hanlon, 150 F.3d         practical. When that is the case, publication or some similar
at 1023. Here, the primary objective of the class action          mechanism can be sufficient to provide notice to the
procedure—to enable litigation where it would otherwise be        individuals that will be bound by the class action judgment.

economically infeasible—is achieved in this case. Deposit            Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306,
Guar. Nat'l Bank v. Roper, 445 U.S. 326, 339, 100 S.Ct.           315, 70 S.Ct. 652, 94 L.Ed. 865 (1950).
1166, 63 L.Ed.2d 427 (1980) (“Where it is not economically
feasible to obtain relief within the traditional framework        On the issue of appropriate notice, the court previously
of a multiplicity of small individual suits for damages,          recognized the uniqueness of the class asserted in this
aggrieved persons may be without any effective redress unless     case, since it could potentially cover most internet users
they may employ the class-action device.”). As noted, the         in the United States. On that ground, the court approved
alternatives to a class action are not preferable since they      the proposed notice plan involving four media channels:
involve either thousands of individual cases or a complete        (1) internet-based notice using paid banner ads targeted
                                                                  at potential class members (in English and in Spanish on
abandonment of millions of claims.      Hanlon, 150 F.3d at
                                                                  Spanish-language websites); (2) notice via “earned media” or,
1023 (holding that a superiority determination “necessarily
                                                                  in other words, through articles in the press; (3) a website
involves a comparative evaluation of alternative mechanisms
                                                                  decided solely to the settlement (in English and Spanish
of dispute resolution.”).
                                                                  versions); and (4) a toll-free telephone number where class
                                                                  members can obtain additional information and request a
 [6] Moreover, a class-wide resolution is not rendered inferior
                                                                  class notice. In addition, the court approved the content and
simply because the *1129 settlement agreement calls for an
                                                                  appearance of the class notice and related forms as consistent
indirect rather than a direct benefit to the class. Assuming
the circumstances support it, a settlement calling for a cy       with    Rule 23(c)(2)(B).

pres remedy can be approved. See       Nachshin v. AOL,
                                                                  The court again finds that the notice plan and class notices
LLC, 663 F.3d 1034, 1038 (9th Cir.2011) (recognizing that
federal courts frequently use the cy pres doctrine where          are consistent with    Rule 23, and that the plan has been
proof of individual claims would be overly-burdensome or          fully and properly implemented by the parties and the class
                                                                  administrator.
distribution of damages too costly.); see also         Lane v.
Facebook, Inc., 696 F.3d 811, 826 (9th Cir.2012) (affirming
approval of class action settlement providing for $6.5 million       C. Fairness of the Settlement
distribution of funds to cy pres recipients where direct          The court now reexamines the fairness of the proposed
monetary payments to class members would be de minimis).          settlement, this time with the benefit of notice having been
This case is distinguishable from the one relied upon by Frank    provided to the class. The settlement agreement contains the
and Holyoak,     In re Hotel Telephone Charges, 500 F.2d          following major components:
86 (9th Cir.1974), because, while the Court discussed the
issue of de minimis recovery versus extraordinary costs of


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                                                                   [8]     [9] To determine whether a class action settlement
  • Google will pay a total amount of $8.5 million, which         is fair, adequate and reasonable, the court must balance a
    will constitute the entirety of the settlement fund. All      series of factors, including “the strength of the plaintiffs'
    payments will be made from this fund, including: (1)          case; the risk, expense, complexity, and likely duration
    distributions to cy pres recipients, (2) attorneys fees and   of further litigation; the risk of maintaining class action
    costs awards, (3) incentive awards to named plaintiffs,       status throughout the trial; the amount offered in settlement;
    and (4) administration costs, including the costs due         the extent of discovery completed and the stage of the
    to the claims administrator. Funds that remain after all      proceedings; the experience and views of counsel; the
    payments are made will not revert to Google.                  presence of a governmental participant; and the reaction of
  • Google will maintain information on its website under         the class members to the proposed settlement.”         Hanlon,
    the “FAQ,” “Key *1130 Terms,” and “Privacy FAQ for            150 F.3d at 1026. “It is the settlement taken as a whole, rather
    Google Web History” webpages which discloses how              than the individual component parts, that must be examined
    information concerning users' search queries are shared
                                                                  for overall fairness.”   Id.
    with third parties. Specifically, the “FAQ” webpage will
    include an answer to the question “Are my search queries
                                                                   [10] When, as here, settlement occurs before formal class
    sent to websites when I click on Google Search results?”
                                                                  certification, approval requires a higher standard of fairness
    which notifies users that search terms may be disclosed
                                                                  in order to ensure that class representatives and their counsel
    to the destination webpage in the referrer header. In
                                                                  do not secure a disproportionate benefit at the expense of the
    conjunction, the “Key Terms” webpage will include a
    definition of “HTTP Referrer,” and the “Privacy FAQ           class.   Lane, 696 F.3d at 819.
    for Google Web History” webpage will direct users to
    the Privacy Policy FAQ for more information on how
    Google handles search queries generally. Importantly,                         i. Strength of Plaintiffs' Case
    however, Google is not required to make changes
    to its homepage, www.google.com, or to practices               [11] To assess strength of the case, “the district court's
    or functionality of Google Search, Google AdWords,            determination is nothing more than an amalgam of
    Google Analytics or Google Web History.                       delicate balancing, gross approximations and rough justice.”

  • As to particular payments to be made from the                   Officers for Justice, 688 F.2d at 625 (internal quotations
    settlement fund, Plaintiffs request that each of the          omitted). There is no “particular formula by which that
    three representative plaintiffs receive incentive awards      outcome must be tested,” ( Rodriguez v. West Publ'g Corp.,
    $5,000, and anticipate up to $1 million in claims             563 F.3d 948, 965 (9th Cir.2009)), and the district court
    administration costs. They also request the court approve     is not required to render specific findings on the strength
    their counsel's request for $2.125 million in fees and
                                                                  of all claims.   Lane, 696 F.3d at 823. Instead, the court
    $21,643.16 in costs.
                                                                  may “presume *1131 that through negotiation, the Parties,
  • After all contemplated payments are made from the fund,       counsel, and mediator arrived at a reasonable range of
     the balance will be distributed to the cy pres recipients    settlement by considering Plaintiff's likelihood of recovery.”
     previously approved by the court. To that end, Plaintiffs    Garner v. State Farm Mutual Auto. Ins. Co., No. 08–CV–
     propose that Carnegie Mellon University receive 21%          1365–CW, 2010 U.S. Dist. LEXIS 49477, at *24, 2010 WL
     of the remainder, that the World Privacy Forum receive       1687832, at *9 (N.D.Cal. April 22, 2010).
     17%, that Chicago–Kent College of Law Center for
     Information, Society and Policy receive 16%, that the         [12] Here, Plaintiffs readily state that the alleged privacy
     Stanford Center for Internet and Society receive 16%,        violation underlying all of their claims is novel and was
     that the Berkman Center for Internet and Society at          potentially one of first impression in this circuit. Thus,
     Harvard University receive 15%, and that the AARP            from the outset, there was no guarantee that any claims
     Foundation receive 15%.                                      would survive pre-trial challenges if adversarial litigation
                                                                  had continued. Indeed, by the time the parties reached
                                                                  a settlement, some of the claims were facing a third
                                                                  motion to dismiss and the one claim that had survived the


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second dismissal motion, the SCA claim, was subsequently           2008) (“Settlement avoids the complexity, delay, risk and
invalidated by the Ninth Circuit in a case presenting a similar    expense of continuing with the litigation and will produce
                                                                   a prompt, certain, and substantial recovery for the Plaintiff
theory. See In re Zynga Privacy Litig., 750 F.3d 1098, 1107
                                                                   class.”).
(9th Cir.2014) (rejecting a claim under the SCA based on
webpage disclosures in a referrer header).

Plaintiff also faced challenges had the case proceeded to               iii. The Risk of Maintaining Class Action Status
trial. In light of the technology involved, the jury would
have been required to review complex technical evidence            Although a class can be certified for settlement purposes,
about the inner-workings of Google's search engine, leaving        the notion that a district court could decertify a class at any
significant opportunity for misunderstanding. Furthermore,         time is an inescapable and weighty risk *1132 that weighs
success at trial would not have equated to an ultimate success     in favor of a settlement. See     Rodriguez, 563 F.3d at 966
for the class. This is because the calculation of damages
                                                                   (citing     Gen. Tel. Co. of Sw. v. Falcon, 457 U.S. 147,
based on a potentially unquantifiable privacy injury would
                                                                   160, 102 S.Ct. 2364, 72 L.Ed.2d 740 (1982)). Here, there
have posed a serious challenge to Plaintiffs in obtaining some
                                                                   is little doubt that Google would have vigorously opposed
type of valuable relief, and any meaningful monetary amount
                                                                   class certification at every opportunity before the district and
awarded to each class member would have resulted in an
                                                                   appellate courts. In addition, the sheer size of the class—
astronomical judgment far exceeding the value of Google,
                                                                   essentially covering all persons in the United States who
given the size of the class. For that reason, the judgment
                                                                   submitted a search query to Google for a period of years
would undoubtedly have been met with a remittitur motion
                                                                   —all but invites challenges to class certification based on
and an appeal.
                                                                   overbreadth or management difficulties, some of which could
                                                                   be considered meritorious. Thus, the very real risk of never
This factor weighs strongly in favor of the settlement. Without
                                                                   obtaining or losing class status in the absence of settlement
a compromise, there was little guarantee of any benefit to the
                                                                   weighs in favor of approval.
class without a substantial amount of further litigation.



                                                                             iv. The Amount Offered in Settlement
          ii. The Risk, Expense, Complexity, and
           Likely Duration of Further Litigation                   This settlement has a monetary component requiring Google
                                                                   to pay $8.5 million into a common fund and an injunctive
This case was a particularly risky one for counsel because the
                                                                   component obligating certain disclosures on the Google
type of privacy injury asserted by Plaintiffs renders it legally
                                                                   website. After court-approved payments, the remainder of the
unproven, technically complex and potentially of little value.
                                                                   fund will be distributed to identified cy pres recipients in
It also would have been expensive to litigate and try since
                                                                   proportions designated by Plaintiffs' counsel.
expert testimony would be necessary to explain the referrer
header technology and establish a basis for damages in an
                                                                   In support of final approval, Plaintiffs point out that
untested area.
                                                                   the amount of the agreed-upon settlement fund compares
                                                                   favorably to that of other similar class actions. See, e.g., In
Moreover, Google's denial of liability means Plaintiffs would
                                                                   re Google Buzz Privacy Litig., 2011 WL 7460099, at *3–4
continue to face “serious hurdles,” including a motion
                                                                   (N.D.Cal. June 2, 2011) (approving $8.5 million settlement
for summary judgment, Daubert challenges, and inevitable
                                                                   fund for unauthorized disclosure of email contact lists;
appeals that would “likely prolong the litigation, and any
                                                                      Lane, 696 F.3d at 818 (approving $9.5 million settlement
recovery by class members, for years.”        Rodriguez, 563
                                                                   fund for unauthorized disclosure of online behavior); In re
F.3d at 966. Because a negotiated resolution provides for a
                                                                   Netflix Privacy Litig., No. 5:11–CV–00379 EJD, 2013 U.S.
certain recovery in the face of an uncertain legal theory, this
                                                                   Dist. LEXIS 37286, at *16–18, 2013 WL 1120801, at *6
factor favors the settlement. Curtis–Bauer v. Morgan Stanley
                                                                   (N.D.Cal. March 18, 2013) (approving $ 9 million settlement
& Co., Inc., No. 06–C–3903 TEH, 2008 U.S. Dist. LEXIS
                                                                   fund for unauthorized storage of personal information). This
85028, at *13, 2008 WL 4667090, at *4 (N.D.Cal. Oct. 22,
                                                                   comparison is instructive because, like those cases, the


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potential value of this case far exceeds that of the settlement     risks. 1 Having carefully reviewed the proposals submitted
fund. But also like those cases, a theoretical value in the         by counsel, the court is satisfied that the proposed cy pres
trillions of dollars does not preclude approval here since a        distribution “bears a substantial nexus to the interests of the
fund of $8.5 million is significant given the substantial legal
obstacles to a recovery through litigation.                         class members,” as required by the Ninth Circuit.           Id. at
                                                                    821.
 [13] [14] Plaintiffs also believe that a distribution of the
settlement funds to cy pres recipients is appropriate in this       Aside from the cy pres portion of the settlement, the court
case. Cy pres payments like those proposed for this case can        must also comment on the fact that Google's allegedly
be approved when actual funds are “non-distributable,” or “         unlawful practice will not change as a result of this case.
‘where the proof of individual claims would be burdensome           Instead, Google will be obligated to make certain “agreed-
                                                                    upon disclosures,” or changes to certain portions of its
or distribution of damages costly.’ ”      Nachshin, 663 F.3d       website, the purpose of which is to better inform users how
at 1038 (quoting      Six Mexican Workers v. Ariz. Citrus           their search terms could be disclosed to third parties through
Growers, 904 F.2d 1301, 1305 (9th Cir.1990)). But due to a          a referrer header. It was noted previously that this relief is not
heightened potential for collusion at the expense of absent         the best result when compared to that sought in the CCAC,
class members, this form of settlement must be examined             since the order contemplated by that pleading would have
to ensure it is the “next best” remedy to direct payments           required Google to stop disclosing search queries altogether.

to the class. See      id.; see also     Lane, 696 F.3d at 819
                                                                     [15] At the same time, a class action settlement does not
(holding that a class settlement should not be approved unless
                                                                    need to embody the best possible result to be approved.
it was evaluated “to account for the possibility that class
                                                                    The court's role is not to advocate for any particular relief,
representatives and their counsel have sacrificed the interests
                                                                    but instead to determine whether the settlement terms fall
of absent class members for their own benefit.”). A district
                                                                    within a reasonable range of possible settlements, giving
court should not approve a cy pres distribution “unless it bears
                                                                    “proper deference to the private consensual decision of
a substantial nexus to the interests of the class members” such
                                                                    the parties” to reach an agreement rather than to continue
that it accounts for the nature of the lawsuit, the objectives of
the underlying statutes, and the interests of the non-appearing     litigating.     Hanlon, 150 F.3d at 1027; see also           In
                                                                    re Tableware Antitrust Litig., 484 F.Supp.2d 1078, 1079
class members.      Lane, 696 F.3d at 821.
                                                                    (N.D.Cal.2007). Considering all of the circumstances which
                                                                    led to a compromise here, the relief obtained for the class
On this issue, the court echoes the comments it made at
                                                                    falls within a reasonable range of possible settlements since
preliminary approval describing why a cy pres remedy is
                                                                    it was entirely possible that nothing would be obtained if
the “next best” result here. First, the settlement fund, while
                                                                    the case were to proceed *1134 further. Under the terms
sizeable, is “non-distributable.” Since the amount of potential
                                                                    of the parties' agreement, and contrary to what the objectors
class members exceeds one hundred million individuals,
                                                                    argue, future users of Google's website will receive something
requiring proofs of claim from this *1133 many people
                                                                    from the injunctive relief: the capability to better understand
would undeniably impose a significant burden to distribute,
                                                                    Google's disclosure practices before conducting a search on
review and then verify. Similarly, the cost of sending out very
                                                                    its website, and the ability to make a better informed choice
small payments to millions of class members would exceed
                                                                    based on that information.
the total monetary benefit obtained by the class.
                                                                    In sum, this factor favors settlement.
Second, the cy pres distribution accounts for the nature of
this suit, meets the objectives of the SCA, and furthers the
interests of class members. The recipients are established
organizations chosen by Plaintiffs' counsel after considering                  v. The Extent of Discovery Completed
whether they are independent and free from conflict, have a                       and the Stage of the Proceedings
record of promoting privacy protection on the Internet, reach
                                                                    Prior to reaching a settlement, the parties had engaged in
and target interests of all demographics across the country,
                                                                    extensive document exchange and had fully briefed three
were willing to provide detailed proposals, and are capable
                                                                    motions to dismiss. They also met in person numerous times
of using the funds to educate the class about online privacy


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and engaged an experienced neutral to assist them in reaching      offer and stayed in the class presents at least some objective
a negotiated resolution. The extent of Plaintiffs' counsel         positive commentary as to its fairness.”); see also Nat'l Rural
factual investigation and the amount of pre-compromise             Telecomms. Coop., 221 F.R.D. at 529 (“It is established that
litigation shows they “had a good grasp on the merits of their     the absence of a large number of objections to a proposed
                                                                   class action settlement raises a strong presumption that the
case before settlement talks began.”      Rodriguez, 563 F.3d
                                                                   terms of a proposed class settlement action are favorable to
at 967. As such, this factor weighs in favor of the settlement.
                                                                   the class members.”). Here, out of a class of more than 100
                                                                   million individuals, the Class Administrator received thirteen
                                                                   requests for exclusion and four written objections from five
         vi. The Experience and Views of Counsel                   class members. These low rates of exclusion and objection
                                                                   can be characterized as, at most, a favorable reaction by the
“Parties represented by competent counsel are better
                                                                   class, or at least, as an absence of an *1135 overwhelming
positioned than courts to produce a settlement that fairly
                                                                   negative reaction. This factor does weigh in favor of approval,
reflects each party's expected outcome in litigation.”    Id.      albeit without significant force.
Consequently, “ ‘[t]he recommendations of plaintiffs' counsel
                                                                   In sum, all of the applicable factors weigh in favor of finally
should be given a presumption of reasonableness.’ ”           In
                                                                   approving the settlement.
re Omnivision Techns., Inc., 559 F.Supp.2d 1036, 1043
(N.D.Cal.2009) (quoting Boyd v. Bechtel Corp., 485 F.Supp.
610, 622 (N.D.Cal.1979)). Given the extensive experience of        IV. ATTORNEYS FEES, COSTS AND INCENTIVE
Plaintiffs' counsel with complex class action lawsuits of a        AWARDS
similar size to the instant case, this factor favors approval of    [17] When attorneys fees and costs are requested by counsel
the settlement.                                                    for the class, “courts have an independent obligation to ensure
                                                                   that the award, like the settlement itself, is reasonable, even
                                                                   if the parties have already agreed to an amount.”       In re
    vii. The Presence of a Governmental Participant                Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 941 (9th
                                                                   Cir.2011).
The Class Action Fairness Act, or “CAFA,” requires that
notice of a settlement be given to state and federal officials
                                                                    [18] [19] “Where a settlement produces a common fund for
and provides those officials a window of time to comment.
                                                                   the benefit of the entire class, courts have discretion to employ
28 U.S.C. § 1715(b). “Although CAFA does not create an
                                                                   either the lodestar method or the percentage-of-recovery
affirmative duty for either state or federal officials to take
any action in response to a class action settlement, CAFA          method.”    Id. at 942. The former method is routinely used
presumes that, once put on notice, state or federal officials      when “the relief sought—and obtained—is often primarily
will raise any concerns that they may have during the normal
                                                                   injunctive in nature and thus not easily monetized.”     Id.
course of the class action settlement procedures.” Garner,         The figure is calculated “by multiplying the number of hours
2010 U.S. Dist. LEXIS 49477, at *37, 2010 WL 1687832, at           the prevailing party reasonably expended on the litigation
*14. Here, the Class Administrator complied with the CAFA          (as supported by adequate documentation) by a reasonable
notice requirement on August 8, 2013. No objections from           hourly rate for the region and for the experience of the
a government official have been received. Thus, this factor
favors the settlement.                                             lawyer.”     Id. The court can “adjust [the figure] upward or
                                                                   downward by an appropriate positive or negative multiplier
                                                                   reflecting a host of ‘reasonableness’ factors, including the
                                                                   quality of representation, the benefit obtained for the class,
           viii. The Reaction of Class Members                     the complexity and novelty of the issues presented, and the
 [16] A low number of opt-outs and objections in comparison        risk of nonpayment.”    Id. at 941–42 (internal quotations
to class size is typically a factor that supports settlement       omitted). “Foremost among these considerations, however, is
approval. See   Hanlon, 150 F.3d at 1027 (“[T]he fact that         the benefit obtained for the class.”   Id. at 942.
the overwhelming majority of the class willingly approved the



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                                                                   skills. Finally, counsel points out that the award requested is
 [20] Under the latter method, the court awards as fees
                                                                   consistent with that awarded in other similar cases.
a percentage of the common fund in lieu of the lodestar
amount.     Id. “[C]ourts typically calculate 25% of the           Having considered the relevant factors, the court agrees with
fund as the ‘benchmark’ for a reasonable fee award,                Plaintiffs' counsel that this action posed a substantial risk
providing adequate explanation in the record of any ‘special       and required significant time and skill to obtain a result
circumstances’ justifying a departure.”           Id. Relevant     for the class. This case was not one where settlement was
factors to a determination of the percentage ultimately            easily secured; to the contrary, Plaintiffs' counsel was required
awarded include: “(1) the results achieved; (2) the risk of        to defend their claims against three motions to dismiss.
litigation; (3) the skill required and quality of work; (4) the    An agreement only materialized after extensive in-person
contingent nature of the fee and the financial burden carried      negotiations, first without and then including a professional
by the plaintiffs; and (5) awards made in similar cases.”          neutral. Moreover, counsel's request is not disproportionate
Tarlecki v. bebe Stores, Inc., No. C 05–1777 MHP, 2009             to the class benefit and is comparable to awards approved
U.S. Dist. LEXIS 102531, at *10, 2009 WL 3720872, at *4            in other similar internet privacy class actions, including one
(N.D.Cal. Nov. 3, 2009).                                           previously approved by this court. See In re Netflix Privacy
                                                                   Litig., 2013 U.S. Dist. LEXIS 37286, at *29, 2013 WL
 [21] “Though courts have discretion to choose which               1120801, at *9–10 (approving benchmark award of $2.25
calculation method they use, their discretion must be              million). Accordingly, a benchmark fee award of amounting
exercised so as to achieve a reasonable result.” Id.               to 25% of the settlement fund is appropriate.



   A. Percentage of the Fund                                         B. Lodestar Comparison
 [22] Plaintiffs' counsel seek a fee award of $2.125 million,      The Ninth Circuit encourages district courts “to guard against
which is equal to 25% of the settlement fund. According            an unreasonable result” by cross-checking attorneys fees
to counsel, the combination of monetary distributions and          calculations against a second method.    In re Bluetooth,
injunctive relief obtained in the settlement is an excellent       654 F.3d at 944. Since a 25% benchmark award might be
result for the class because they “work in concert ... reshape     reasonable in some cases but arbitrary in cases involving
the landscape of Internet privacy protections” and “enact a        an extremely large settlement fund, the purpose of the
regime of informed consent for Google Search users, who            comparison is to ensure counsel is not overcompensated.
can now access complete and truthful information about the
                                                                      In re Coordinated Pretrial Proceedings in Petroleum
ways Google handles user search queries before deciding
whether to use Google Search, Google Encrypted Search, or          Prods. Antitrust Litig., 109 F.3d 602, 607 (9th Cir.1997).
a competing search engine.”
                                                                   Here, Plaintiffs' counsel calculates a lodestar figure of
Plaintiffs' counsel also believe they undertook substantial risk   $966,598.75 for 2085.6 billing hours from four law firms,
by agreeing to litigate this case on a purely contingent basis     to which they apply a 2.2 multiplier for a total amount of
given the unsettled legal issues, and, for that reason, spent      $2,126,517.25. They also seek compensation for total costs
considerable time and money with no guarantee of payment.          of $21,643.16. These amounts are attributable to each firm as
In addition, they assert the novel nature of this case coupled     follows:
with an opponent armed *1136 with substantial defenses and
resources required sophisticated litigation and negotiation
 Firm                                       Fees                   Expenses                                  Total Cost

 Aschenbrener Law, P.C.                     $321,184.00            $5,844.54                                 $327,028.54

 Nassiri & Jung LLP                         $253,776.50            $4,464.95                                 $258,241.45

 Progressive Law Group                      $331,967.25            $7,551.27 (+ $22.40)                      $339,540.92

 Edelson PC                                 $59,671.00             $3,760.00                                 $63,431.00


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 Totals                                        $966,598.75         $21,643.16                               $988,241.91

                                                                    [25] The court now addresses the points raised in the four
Among the participating law firms, the hourly rates charged
                                                                   written objections, keeping in mind that objectors to a class
by attorneys range from $300 to $685. The hourly rate for
                                                                   action settlement bear the burden of proving any assertions
law clerks is $75, and for paralegals is $125. Altogether, the
                                                                   they raise challenging the reasonableness of a class action
average hourly rate for all work performed is $463.
                                                                   settlement.    United States v. Oregon, 913 F.2d 576, 581 (9th
Plaintiff's counsel has provided sufficient support for its        Cir.1990).
proposed lodestar calculation. The amount of hours and
other costs attributed to this case are reasonable in light        The objectors have not satisfied this burden. To begin, all
of the efforts required to litigate and ultimately engage in       four objectors take issue with the cy pres character of this
a lengthy settlement process. In addition, the hourly rates        settlement, or with cy pres settlements in general. These
charged fall within the range of those approved in other           arguments overlook both the law of this circuit which permits
similar cases, and the suggested lodestar multiplier of 2.2 is     cy pres settlements such as this one, and the indirect benefit
comparable to that previously permitted by other courts in
                                                                   provided by a cy pres settlements. See       Lane, 696 F.3d
similar internet privacy cases. Accordingly, the lodestar cross-
                                                                   at 819. In addition, the court has explained why Plaintiffs
check confirms *1137 the reasonableness of the percentage-
                                                                   made a sufficient showing that the cost of distributing this
based calculation.
                                                                   or really any settlement fund to the class members would be
                                                                   prohibitive.
  C. Incentive Awards
[23] “[N]amed plaintiffs, as opposed to designated class            [26] The objectors similarly argue that the size of the
members who are not named plaintiffs, are eligible for             settlement fund is insufficient in comparison to the value
                                                                   of the case, and believe that a fair settlement would have
reasonable incentive payments.”       Staton, 327 F.3d at 977.     resulted in an end to Google's “unlawful” practices. This
To determine the appropriateness of incentive awards a             contention is misguided, however, because the objectors do
district court should use “relevant factors includ[ing] the        not account for the significant and potentially case-ending
actions the plaintiff has taken to protect the interests of the    weakness in the SCA claim brought about by the Ninth
class, the degree to which the class has benefitted from
those actions ... the amount of time and effort the plaintiff      Circuit's decision in     Zynga Privacy Litigation. In light
expended in pursuing the litigation ... and reasonabl[e] fear[s    of this development, whether or not Google's practice of
                                                                   disclosing search queries can actually be characterized as
of] workplace retaliation.”        Id. (internal quotation marks   unlawful is questionable. In the end, the parties fashioned a
omitted).                                                          settlement in consideration of the favorable and unfavorable
                                                                   aspects of each side's case. And it is the parties themselves,
 [24] The Settlement Agreement provides that the named             as opposed to the court or the objectors, who are in the
Plaintiffs may receive incentive awards of up to $5,000 each.      best position to assess whether a settlement “fairly reflects”
In this district, that amount is presumptively reasonable.
                                                                   their “expected outcome in litigation.”    In re Pac. Ents.
   Jacobs v. Cal. State Auto. Ass'n Inter–Ins. Bureau, No.         Sec. Litig., 47 F.3d 373, 378 (9th Cir.1995). Just because a
C 07–00362 MHP, 2009 U.S. Dist. LEXIS 101586, at *13–              settlement could be improved does not mean it is not fair,
14, 2009 WL 3562871, at *4–5 (N.D.Cal. Oct. 27, 2009).
Since the named plaintiffs assumed the responsibilities and        reasonable or adequate.       Hanlon, 150 F.3d at 1027. Here,
burdens of acting as representatives in this lawsuit, including    there is no reason to believe the settlement is inadequate when
providing documents, verifying allegations, and consulting         viewed against the diminished strength of the claims.
with counsel, the court finds the incentive awards reasonable
                                                                   Objectors also argue that the cy pres recipients are unrelated
in light of the eligibility factors set forth in   Staton.         to the subject *1138 matter of this case, and one claims
                                                                   there is a conflict of interest because some of the attorneys
                                                                   representing Plaintiffs attended Harvard University. The court
V. OBJECTIONS



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                                                                  benefit, and notes that the approved amounts are consistent
rejects these arguments. The chosen recipients and their
                                                                  with the relevant Ninth Circuit authority on this topic.
respective proposals are sufficiently related so as to warrant
approval; they do not have to be the recipients that objectors
                                                                  For these reasons, the court is unpersuaded by the objections.
or the court consider ideal.     Lane, 696 F.3d at 820–21.        They are each overruled.
Additionally, while the potential for a conflict of interest
is noted, there is no indication that counsel's allegiance to
a particular alma mater factored into the selection process.      VI. CONCLUSION AND ORDER
Indeed, the identity of potential cy pres recipients was a        Based on the preceding discussion, the court finds that the
negotiated term included in the Settlement Agreement and          terms of the settlement, including the awards of attorneys
therefore not chosen solely by Harvard alumni.                    fees, costs, and incentive awards, is fair, adequate, and
                                                                  reasonable; that it satisfies Federal Rule of Civil Procedure
Some objections challenge the notice plan or the contents of      23(e) and the fairness and adequacy factors; and that it should
the notice and describe alternative ways that notice could have   be approved and implemented.
been provided to the class. It may be true that other methods
of notice exist. But here, the court approved one specific        The Motion for Final Approval (Docket Item No. 65No. 65)
plan that satisfied the standard   Rule 23(c)(2)(B) standard.     and the Motion for Attorneys Fees and Costs (Docket Item
Although the plan did not call for individual notice, that type   No. 66No. 66) are therefore GRANTED. The Clerk shall
                                                                  close this file upon entry of Judgment.
of notice is not required in all cases. See   Mullane, 339 U.S.
at 315, 70 S.Ct. 652.
                                                                  IT IS SO ORDERED.

Finally, the objectors challenge the provisions of the
Settlement Agreement which provide for attorneys fees and         All Citations
incentive awards. The court does not agree that the fees and
incentive awards are inconsistent with the value of the class     87 F.Supp.3d 1122, 91 Fed.R.Serv.3d 165




                                                          Footnotes


1       Some of the proposed cy pres recipients are “usual suspects,” or organizations that routinely receive
        distributions from class action settlements. At the two approval hearings held in this case, the court expressed
        a concern with using the same list of cy pres recipients in every internet privacy class action and observed that
        this practice discourages the development of other worthy organizations. This practice also raises questions
        about the effectiveness of those organizations that have received prior distributions. The court was somewhat
        surprised at the final list of distributees, since Plaintiffs' counsel suggested the selection process would
        potentially cast a wider net. See Tr. of Proceedings on Aug. 23, 2013, Docket Item No. 57, at p. 14No. 57, at
        p. 14:25–15:4 (“We are raising the bar, and I think raising the bar for all cy pres settlements like this to follow.
        We're treating the cy pres allocation more like a grant making organization would treat grant—prospective
        grant recipients.”).
        Despite this concern, the court recognizes that failure to diversify the list of distributees is not a basis to reject
        the settlement, particularly when the proposed recipients otherwise qualify under the applicable standard.
        See      Lane, 696 F.3d at 820–21 (“We do not require ... that settling parties select a cy pres recipient that the
        court or class members would find ideal .... such an intrusion into the private parties' negotiations would be
        improper and disruptive to the settlement process.”). However, if class action counsel truly seeks to raise the
        bar for cy pres settlements, they should consider contributing to organizations other than the same typical few.




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